                           UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF NEW MEXICO

In re: Alliance Well Service, LLC
       a New Mexico limited liability company
       EIN: XX-XXXXXXX,

       Debtor.                                                                 No. 16-10078-t11

            DEBTOR’S SECOND AMENDED PLAN OF REORGANIZATION
                             AUGUST 11, 2016

                                          ARTICLE I
                                          SUMMARY

        This Plan of Reorganization (the “Plan”) under Chapter 11 of Title 11 of the United
States Code (the “Code”) proposes to pay creditors of Alliance Well Service, LLC (“Debtor”)
from future income to fund the Plan.

        Class 8 claims will be paid a pro-rata share from monthly Plan Payments. While the Plan
calls for Debtor to make payments to twenty secured classes, as well as unclassified priority and
administrative claims, the only payments designated “Plan Payments” are to Class 8, the general
unsecured class. Debtor estimates that Class 8 claims will receive approximately 10% of their
allowed claims over the Plan Term, which is sixty months.

         This Plan provides for twenty (20) classes of secured claims (Classes 1 – 7, separately
counting classes 2A – 2J, and 5A – 5E), one (1) class of general unsecured claims (Class 8), one
class for the unsecured claim of an insider (Class 9), and one class for the equity interest of
Debtor’s sole member (Class 10). Payments to the secured creditors in Classes 1 – 7, as well as
payments to priority and administrative creditors (including Debtor’s attorneys) are not
designated as “Plan Payments” herein. Rather, Plan Payments are just those payments that shall
go to general unsecured creditors in Class 8. Plan Payments shall be $1,100, and shall begin in
the eleventh month after the Initial Distribution Date. (Although the Plan Term is sixty months,
the first ten months involve payments to secured, priority, and administrative claimants only.
Payments to these creditors are not designated as “Plan Payments.”) Thus, if the Initial
Distribution Date occurs on November 1, 2016, Plan Payments would begin on September 1,
2017. All payments proposed under this Plan (Plan Payments, payments to secured creditors, and
administrative and priority payments) will be made from disposable income, or, at Debtor’s sole
discretion, from the sale of assets of Debtor. Holders of allowed Class 8 Claims will be paid
from monthly Plan Payments. As noted below, certain payments to secured claimants begin on
the Initial Distribution Date. This Plan sequesters payments to be made to each class. Thus, an
increase or decrease to the amount due to any of the twenty secured classes will not result in a
corresponding decrease or increase in the amount of Plan Payments (the amount to be distributed
to Class 8, general unsecured claimants). Debtor’s sole member will retain his membership
interest in the Reorganized Debtor, as provided in the treatment for Class 10, subject to the
possibility of conducting an auction of his membership interest in the event that one of the
classes rejects the Plan.

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        The Class 8 Claims, as currently scheduled by Debtor or in a different amount asserted in
a filed proof of claim, total $524,559.90. The amount ultimately allowed may vary significantly
from this amount. Debtor estimates the percentage distribution to Class 8 to be 10%.

        All creditors should refer to Articles III through VI of this Plan for information regarding
the precise treatment of their claim. A disclosure statement that provides more detailed
information regarding this Plan and the rights of creditors and equity security holders has been
circulated with this Plan. Your rights may be affected. You should read these papers
carefully and discuss them with your attorney, if you have one. (If you do not have an
attorney, you may wish to consult one.)

                                  ARTICLE II
                    CLASSIFICATION OF CLAIMS AND INTERESTS

2.01   Class 1: The secured claim of Western Bank stemming from six loans issued between
       March 31, 2009 and March 14, 2014, numbered 64069-73, 64069-78, 64069-80, 64069-
       84, 64069-86, and 64069-87. By virtue of a cross-collateralization agreement, all six
       loans are secured by the same collateral, consisting of accounts and other rights to
       payment, equipment, instruments and chattel paper, and general intangibles. On the
       Petition Date, Debtor placed the outstanding principal of these six loans at $1,778,548.44.
       Doc. 64, pp. 21-35. Debtor believes that four of the six loans originally accrued interest at
       the rate of 7.0% APR, and two of the six originally accrued interest at the rate of 7.5%
       APR. Western Bank has filed a proof of claim in this matter asserting a total
       indebtedness, as of the Petition Date, of $1,787,467.46. Claim 16.
                Debtor proposes to treat Western Bank’s claim as fully secured under this Plan
       and pay to Western Bank 132 monthly payments of $17,200, or a total of $2,270,400, in
       full satisfaction of its debt to Western Bank. While this proposal does not specify an
       interest rate over which a principal sum will accrue, this payment schedule is equivalent
       to amortizing $1,787,467.46 over eleven years at an annual interest rate of 4.51%.
       Payments to Western Bank will be due on the fifteenth of each month, beginning in June
       of 2016.
                Debtor proposes to pay Western Bank nothing for the agreement labeled
       “Insurance Premium Finance Agreement,” under which Western Bank gave Alliance a
       loan to purchase one or more insurance premiums. This loan to Western Bank has been
       satisfied by Western Bank’s recourse to J.S. Ward & Son, Inc. Although this loan was not
       listed as contingent, unliquidated, or disputed in Debtor’s Schedule E/F Part 2, it is
       specifically excluded from distribution under the Plan because it has been satisfied.
                Besides the debt memorialized by the Insurance Premium Finance Agreement,
       Debtor’s Schedule E/F Part 2 lists two other debts to Western Bank. These debts are in
       fact secured (by virtue of the cross-collateralization agreement) and are among the six
       loans now superseded by Debtor’s proposed treatment of Western Bank in Class 1.
       Because of this, Western Bank is excluded from Class 8, General unsecured claims.
                Western Bank is impaired under the Plan.

2.02   Class 2A: The secured claim of Ally Bank Corp. for $60,882.68, secured by Debtor’s
       2015 Chevrolet Silverado with VIN ending in 1192. The principal amount on this debt
       accrues interest at 4.99% APR. Ally’s proof of claim for this vehicle, Claim 5, shows a
       pre-petition arrearage of $2,203.38. Debtor proposes to resume regular monthly payments

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       of $1,041.69 beginning July of 2016 until this vehicle is paid in full. Debtor proposes to
       not pay a separate charge for any pre- or post-petition arrearage, but to pay the additional
       interest (at 4.99% APR) that accrued from Debtor’s lapse of monthly payments through
       July of 2016. To the degree that Debtor’s debt in this class is cross-collateralized with the
       other Class 2 debts owed to Ally, Debtor proposes to terminate such cross-
       collateralization, such that Default (as defined below) of Debtor’s obligations under this
       Class will give Ally recourse against this vehicle only. Nothing in this treatment shall
       preclude or prevent Debtor from trading in the vehicle identified and rolling the amount
       left due in this class (after application of the vehicle’s value) into a new note used to
       finance a new vehicle. This class is impaired.

2.03   Class 2B: The secured claim of Ally Bank Corp. for $35,908.04, secured by Debtor’s
       2013 Ford F-150 with VIN ending in 2460. The principal amount on this debt accrues
       interest at 6.29% APR. Ally’s proof of claim for this vehicle, Claim 6, shows a pre-
       petition arrearage of $2,078.90. Debtor proposes to resume regular monthly payments of
       $647.95 beginning July of 2016 until this vehicle is paid in full. Debtor proposes to not
       pay a separate charge for any pre- or post-petition arrearage, but to pay the additional
       interest (at 6.29% APR) that accrued from Debtor’s lapse of monthly payments through
       July of 2016. To the degree that Debtor’s debt in this class is cross-collateralized with the
       other Class 2 debts owed to Ally, Debtor proposes to terminate such cross-
       collateralization, such that Default (as defined below) of Debtor’s obligations under this
       Class will give Ally recourse against this vehicle only. Nothing in this treatment shall
       preclude or prevent Debtor from trading in the vehicle identified and rolling the amount
       left due in this class (after application of the vehicle’s value) into a new note used to
       finance a new vehicle. This class is impaired

2.04   Class 2C: The secured claim of Ally Bank Corp. for $48,054.59, secured by Debtor’s
       2014 Ford F-250 with VIN ending in 2841. The principal amount on this debt accrues
       interest at 11.4% APR. Ally’s proof of claim for this vehicle, Claim 7, shows a pre-
       petition arrearage of $3,049.53. Debtor proposes to resume regular monthly payments of
       $971.51 beginning July of 2016 until this vehicle is paid in full. Debtor proposes to not
       pay a separate charge for any pre- or post-petition arrearage, but to pay the additional
       interest (at 11.4% APR) that accrued from Debtor’s lapse of monthly payments through
       July of 2016. To the degree that Debtor’s debt in this class is cross-collateralized with the
       other Class 2 debts owed to Ally, Debtor proposes to terminate such cross-
       collateralization, such that Default (as defined below) of Debtor’s obligations under this
       Class will give Ally recourse against this vehicle only. Nothing in this treatment shall
       preclude or prevent Debtor from trading in the vehicle identified and rolling the amount
       left due in this class (after application of the vehicle’s value) into a new note used to
       finance a new vehicle. This class is impaired.

2.05   Class 2D: The secured claim of Ally Bank Corp. for $37,551.29, secured by Debtor’s
       2015 Chevrolet Silverado with VIN ending in 5038. The principal amount on this debt
       accrues interest at 7.75% APR. Ally’s proof of claim for this vehicle, Claim 8, shows a
       pre-petition arrearage of $2,236.08. Debtor proposes to resume regular monthly payments
       of $700.36 beginning July of 2016 until this vehicle is paid in full. Debtor proposes to not
       pay a separate charge for any pre- or post-petition arrearage, but to pay the additional
       interest (at 7.75% APR) that accrued from Debtor’s lapse of monthly payments through
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       July of 2016. To the degree that Debtor’s debt in this class is cross-collateralized with the
       other Class 2 debts owed to Ally, Debtor proposes to terminate such cross-
       collateralization, such that Default (as defined below) of Debtor’s obligations under this
       Class will give Ally recourse against this vehicle only. Nothing in this treatment shall
       preclude or prevent Debtor from trading in the vehicle identified and rolling the amount
       left due in this class (after application of the vehicle’s value) into a new note used to
       finance a new vehicle. This class is impaired.

2.06   Class 2E: The secured claim of Ally Bank Corp. for $50,126.99, secured by Debtor’s
       2015 Chevrolet Silverado with VIN ending in 5024. The principal amount on this debt
       accrues interest at 6.69% APR. Ally’s proof of claim for this vehicle, Claim 9, shows a
       pre-petition arrearage of $2,876.22. Debtor proposes to resume regular monthly payments
       of $913.74 beginning July of 2016 until this vehicle is paid in full. Debtor proposes to not
       pay a separate charge for any pre- or post-petition arrearage, but to pay the additional
       interest (at 6.69% APR) that accrued from Debtor’s lapse of monthly payments through
       July of 2016. To the degree that Debtor’s debt in this class is cross-collateralized with the
       other Class 2 debts owed to Ally, Debtor proposes to terminate such cross-
       collateralization, such that Default (as defined below) of Debtor’s obligations under this
       Class will give Ally recourse against this vehicle only. Nothing in this treatment shall
       preclude or prevent Debtor from trading in the vehicle identified and rolling the amount
       left due in this class (after application of the vehicle’s value) into a new note used to
       finance a new vehicle. This class is impaired.

2.07   Class 2F: The secured claim of Ally Bank Corp. for $43,489.24, secured by Debtor’s
       2014 Ford F-250 with VIN ending in 3479. The principal amount on this debt accrues
       interest at either 7.04% APR (as reflected on Ally’s Proof of Claim, Claim 10) or 9.24%
       APR (as reflected on the Motor Vehicle Retail Installment Sales Contract, Claim 10 Part
       2). Ally’s proof of claim for this vehicle shows a pre-petition arrearage of $2,696.00.
       Debtor proposes to resume regular monthly payments of $1,153.21 beginning July of
       2016 until this vehicle is paid in full. Debtor proposes to not pay a separate charge for
       any pre- or post-petition arrearage, but to pay the additional interest (at 7.04% APR) that
       accrued from Debtor’s lapse of monthly payments through July of 2016. To the degree
       that Debtor’s debt in this class is cross-collateralized with the other Class 2 debts owed to
       Ally, Debtor proposes to terminate such cross-collateralization, such that Default (as
       defined below) of Debtor’s obligations under this Class will give Ally recourse against
       this vehicle only. Nothing in this treatment shall preclude or prevent Debtor from trading
       in the vehicle identified and rolling the amount left due in this class (after application of
       the vehicle’s value) into a new note used to finance a new vehicle. This class is impaired.

2.08   Class 2G: The secured claim of Ally Bank Corp. for $57,909.89, secured by Debtor’s
       2015 GMC Yukon with VIN ending in 3209. The principal amount on this debt accrues
       interest at 5.45% APR. Ally’s proof of claim for this vehicle, Claim 11, shows a pre-
       petition arrearage of $3,086.68. Debtor proposes to resume regular monthly payments of
       $1,430.84 beginning July of 2016 until this vehicle is paid in full. Debtor proposes to not
       pay a separate charge for any pre- or post-petition arrearage, but to pay the additional
       interest (at 5.45% APR) that accrued from Debtor’s lapse of monthly payments through
       July of 2016. To the degree that Debtor’s debt in this class is cross-collateralized with the
       other Class 2 debts owed to Ally, Debtor proposes to terminate such cross-
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       collateralization, such that Default (as defined below) of Debtor’s obligations under this
       Class will give Ally recourse against this vehicle only. Nothing in this treatment shall
       preclude or prevent Debtor from trading in the vehicle identified and rolling the amount
       left due in this class (after application of the vehicle’s value) into a new note used to
       finance a new vehicle. This class is impaired.

2.09   Class 2H: The secured claim of Ally Bank Corp. for $37,867.86, secured by Debtor’s
       2014 Ford F-250 with VIN ending in 0575. The principal amount on this debt accrues
       interest at 9.24% APR. Ally’s proof of claim for this vehicle, Claim 12, shows a pre-
       petition arrearage of $2,586.86. Debtor proposes to resume regular monthly payments of
       $999.98 beginning July of 2016 until this vehicle is paid in full. Debtor proposes to not
       pay a separate charge for any pre- or post-petition arrearage, but to pay the additional
       interest (at 9.24% APR) that accrued from Debtor’s lapse of monthly payments through
       July of 2016. To the degree that Debtor’s debt in this class is cross-collateralized with the
       other Class 2 debts owed to Ally, Debtor proposes to terminate such cross-
       collateralization, such that Default (as defined below) of Debtor’s obligations under this
       Class will give Ally recourse against this vehicle only. Nothing in this treatment shall
       preclude or prevent Debtor from trading in the vehicle identified and rolling the amount
       left due in this class (after application of the vehicle’s value) into a new note used to
       finance a new vehicle. This class is impaired.

2.10   Class 2I: The secured claim of Ally Bank Corp. for $45,006.97, secured by Debtor’s
       2014 Ford F-350 with VIN ending in 0584. The principal amount on this debt accrues
       interest at 9.89% APR. Ally’s proof of claim for this vehicle, Claim 13, shows a pre-
       petition arrearage of $3,089.39. Debtor proposes to resume regular monthly payments of
       $1,252.79 beginning July of 2016 until this vehicle is paid in full. Debtor proposes to not
       pay a separate charge for any pre- or post-petition arrearage, but to pay the additional
       interest (at 9.89% APR) that accrued from Debtor’s lapse of monthly payments through
       July of 2016. To the degree that Debtor’s debt in this class is cross-collateralized with the
       other Class 2 debts owed to Ally, Debtor proposes to terminate such cross-
       collateralization, such that Default (as defined below) of Debtor’s obligations under this
       Class will give Ally recourse against this vehicle only. Nothing in this treatment shall
       preclude or prevent Debtor from trading in the vehicle identified and rolling the amount
       left due in this class (after application of the vehicle’s value) into a new note used to
       finance a new vehicle. This class is impaired.

2.11   Class 2J: The secured claim of Ally Bank Corp. for $52,735.35, secured by Debtor’s
       2013 Ford F-150 with VIN ending in 5906. The principal amount on this debt accrues
       interest at 8.99% APR. Ally’s proof of claim for this vehicle, Claim 14, shows a pre-
       petition arrearage of $3,184.35. Debtor proposes to resume regular monthly payments of
       $1,011.45 beginning July of 2016 until this vehicle is paid in full. Debtor proposes to not
       pay a separate charge for any pre- or post-petition arrearage, but to pay the additional
       interest (at 8.99% APR) that accrued from Debtor’s lapse of monthly payments through
       July of 2016. To the degree that Debtor’s debt in this class is cross-collateralized with the
       other Class 2 debts owed to Ally, Debtor proposes to terminate such cross-
       collateralization, such that Default (as defined below) of Debtor’s obligations under this
       Class will give Ally recourse against this vehicle only. Nothing in this treatment shall
       preclude or prevent Debtor from trading in the vehicle identified and rolling the amount
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       left due in this class (after application of the vehicle’s value) into a new note used to
       finance a new vehicle. This class is impaired.

2.12   Class 3: The secured claim of Vista Bank stemming from two loans issued on November
       4, 2013 and April 24, 2014, and numbered 66721 and 67684, respectively. Alliance
       pledged the same set of collateral to secure both loans, namely five blow-out preventers
       with their associated trailers and accessories. The promissory note memorializing the
       66721 loan was signed by Alliance as the borrower. The promissory note memorializing
       the 67684 loan was signed by Alliance’s principal Mr. Pennington as the borrower,
       although the money loaned was used for Alliance’s business and operations. On the
       Petition Date, Debtor placed the outstanding principal of these two loans at $227,098.46.
       Doc. 64, p. 20. Debtor valued the collateral securing these loans at $75,000.00. Id. at p.
       20. (While Debtor’s Schedule D reflects different collateral for the two loans, upon
       further review, Debtor now believes that both loans were secured with identical
       collateral.) Both loans accrued interest at the rate of 6.0% APR. Vista Bank has filed
       proofs of claim in this matter, corresponding to the two loans, asserting a total
       indebtedness, as of the Petition Date, of $227,102.81. Claim 18 ($77,036.87) and Claim
       19 ($150,065.81).
               Debtor proposes to bifurcate Vista Bank’s claims under the Plan and pay to Vista
       Bank, for the secured portion of Vista Bank’s claim, the sum of $75,000, amortized over
       five years at 6.0% APR, resulting in 60 equal monthly payments of $1,450, or a total of
       $87,000. The foregoing payments to Vista Bank will be due on the fifteenth of each
       month, beginning in August of 2016. Any adequate protection payments Debtor has made
       prior to August of 2016 will be counted against interest only and will not reduce the
       principal amount owed on the secured portion of Vista Bank’s claim.
               Upon conditional approval of this Disclosure Statement, Vista Bank will be given
       separate notice of Debtor’s proposed bifurcation of Debtor’s debt to Vista Bank.
       Debtor proposes to include the unsecured portion of Vista Bank’s claim, $152,102.81
       ($227,102.81 - $75,000), in the general unsecured class of creditors.
               Vista Bank is impaired under the Plan.

2.13   Class 4: The secured claim of First American Bank for $17,137.65, secured by Debtor’s
       accounts receivable and a 2011 utility trailer with VIN ending in 1062. The outstanding
       principal on this debt accrues interest at 7.0 % APR. Debtor has been making Adequate
       Protection Payments of $1,300/month to First American Bank since March of 2016.
       Debtor proposes to continue its regular monthly payments of $1,300.00 to First American
       Bank until this debt is paid in full. Because the Cash Collateral Orders do not specify
       what fraction of the Adequate Protection Payments will be applied to interest and what
       fraction will be applied to principal, Debtor proposes to the apply the Adequate
       Protection Payments made to First American Bank as though they had been regular
       payments made under this debt, first applied to any accrued interest (at 7.0% APR) then
       to principal. Debtor proposes to not pay any separate payments for post-petition
       arrearages, but to pay the accrued interest (at 7.0% APR) on the outstanding principal
       from the Petition Date, adjusted for Debtor’s Adequate Protection Payments. This class is
       impaired under the Plan.

2.14   Class 5A: The secured claim of Ford Motor Credit for $8,226.23, secured by Debtor’s
       2013 Ford F-150 with VIN ending in 9446. Debtor proposes to resume regular monthly

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       payments of $1,145.36 beginning on the Effective Date until this vehicle is paid in full.
       Debtor proposes to not pay a separate charge for any pre- or post-petition arrearage, but
       to pay the additional interest at 4.0% APR that accrued from Debtor’s lapse of monthly
       payments through the Effective Date. To the degree that Debtor’s debt in this class is
       cross-collateralized with the other Class 5 debts owed to Ford, Debtor proposes to
       terminate such cross-collateralization, such that Default (as defined below) of Debtor’s
       obligations under this Class will give Ford recourse against this vehicle only. Nothing in
       this treatment shall preclude or prevent Debtor from trading in the vehicle identified and
       rolling the amount left due in this class (after application of the vehicle’s value) into a
       new note used to finance a new vehicle. This class is impaired.

2.15   Class 5B: The secured claim of Ford Motor Credit for $11,718.90, secured by Debtor’s
       2013 Ford F-250 with VIN ending in 1017. Debtor proposes to resume regular monthly
       payments of $865.37 beginning on the Effective Date until this vehicle is paid in full.
       Debtor proposes to not pay a separate charge for any pre- or post-petition arrearage, but
       to pay the additional interest at 4.0% APR that accrued from Debtor’s lapse of monthly
       payments through the Effective Date. To the degree that Debtor’s debt in this class is
       cross-collateralized with the other Class 5 debts owed to Ford, Debtor proposes to
       terminate such cross-collateralization, such that Default (as defined below) of Debtor’s
       obligations under this Class will give Ford recourse against this vehicle only. Nothing in
       this treatment shall preclude or prevent Debtor from trading in the vehicle identified and
       rolling the amount left due in this class (after application of the vehicle’s value) into a
       new note used to finance a new vehicle. This class is impaired.

2.16   Class 5C: The secured claim of Ford Motor Credit for $36,657.93, secured by Debtor’s
       2013 Ford F-150 with VIN ending in 7410. Debtor proposes to resume regular monthly
       payments of $1,312.72 beginning on the Effective Date until this vehicle is paid in full.
       Debtor proposes to not pay a separate charge for any pre- or post-petition arrearage, but
       to pay the additional interest at 4.0% APR that accrued from Debtor’s lapse of monthly
       payments through the Effective Date. To the degree that Debtor’s debt in this class is
       cross-collateralized with the other Class 5 debts owed to Ford, Debtor proposes to
       terminate such cross-collateralization, such that Default (as defined below) of Debtor’s
       obligations under this Class will give Ford recourse against this vehicle only. Nothing in
       this treatment shall preclude or prevent Debtor from trading in the vehicle identified and
       rolling the amount left due in this class (after application of the vehicle’s value) into a
       new note used to finance a new vehicle. This class is impaired.

2.17   Class 5D: The secured claim of Ford Motor Credit for $10,519.20, secured by Debtor’s
       2013 Ford F-250 with VIN ending in 3867. Debtor proposes to resume regular monthly
       payments of $1,053.86 beginning on the Effective Date until this vehicle is paid in full.
       Debtor proposes to not pay a separate charge for any pre- or post-petition arrearage, but
       to pay the additional interest at 4.0% APR that accrued from Debtor’s lapse of monthly
       payments through the Effective Date. To the degree that Debtor’s debt in this class is
       cross-collateralized with the other Class 5 debts owed to Ford, Debtor proposes to
       terminate such cross-collateralization, such that Default (as defined below) of Debtor’s
       obligations under this Class will give Ford recourse against this vehicle only. Nothing in
       this treatment shall preclude or prevent Debtor from trading in the vehicle identified and


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       rolling the amount left due in this class (after application of the vehicle’s value) into a
       new note used to finance a new vehicle. This class is impaired.

2.18   Class 5E: The secured claim of Ford Motor Credit for $30,237.27, secured by Debtor’s
       2014 Ford F-250 with VIN ending in 5367. Debtor proposes to resume regular monthly
       payments of $1,463.00 beginning on the Effective Date until this vehicle is paid in full.
       Debtor proposes to not pay a separate charge for any pre- or post-petition arrearage, but
       to pay the additional interest at 4.0% APR that accrued from Debtor’s lapse of monthly
       payments through the Effective Date. To the degree that Debtor’s debt in this class is
       cross-collateralized with the other Class 5 debts owed to Ford, Debtor proposes to
       terminate such cross-collateralization, such that Default (as defined below) of Debtor’s
       obligations under this Class will give Ford recourse against this vehicle only. Nothing in
       this treatment shall preclude or prevent Debtor from trading in the vehicle identified and
       rolling the amount left due in this class (after application of the vehicle’s value) into a
       new note used to finance a new vehicle. This class is impaired.

2.19   Class 6: The secured claim of Wells Fargo for $33,589.19, secured by Debtor’s 2013
       GMC Sierra. On the Petition Date, Debtor valued this vehicle at $15,938.00. Doc. 64, p.
       20. Wells Fargo Bank has not filed a proof of claim in this matter.
       Debtor proposes to bifurcate its obligation to Wells Fargo under the Plan and pay to
       Wells Fargo, for the secured portion of Wells Fargo’s claim, the sum of $15,938,
       amortized over five years at 4.0% APR, resulting in 60 equal monthly payments of
       $293.52, or a total of $17,611.20. Upon conditional approval of this Disclosure
       Statement, Wells Fargo will be given separate notice of Debtor’s proposed bifurcation of
       Debtor’s debt to Wells Fargo. The foregoing payments to Wells Fargo will be due on the
       fifteenth of each month, beginning in the month of the Effective Date.
       Debtor proposes to include the unsecured portion of Wells Fargo’s claim, $17,651.19
       ($33,589.19 - $15,938.00), in the general unsecured class of creditors.
       This class is impaired.

2.20   Class 7: The secured claim of J.S. Ward & Son, Inc. (“J.S. Ward”), filed in the amount of
       $123,129.76, of which J.S. Ward claims that $113,188.68 is secured. Pursuant to the
       Order Granting Adequate Protection Payments to J.S. Ward & Son (the “J.S. Ward
       Adequate Protection Order”), the unearned insurance premiums decrease at the rate of
       $561.66 per day. Doc. 91, ¶ 7. Since March 3, 2016, Debtor has paid to J.S. Ward semi-
       monthly payments equal to the daily rate of $561.66, in order to adequately protect J.S.
       Ward from the loss of value of its collateral. Debtor proposes to continue these adequate
       protection payments to J.S. Ward under the Plan until the secured portion of J.S. Ward’s
       claim is paid in full, which is calculated, under the J.S. Ward Adequate Protection Order,
       to coincide with the expiration of the insurance policies that secure the claim. After the
       secured portion of J.S. Ward’s claim has been paid in full, or if J.S. Ward terminates the
       insurance policies pursuant to the default provisions of the J.S. Ward Adequate Protection
       Order, then J.S. Ward shall be required to file and serve a Notice of Outstanding Balance
       Due on its claim within thirty days. If J.S. Ward does not file and serve such Notice
       within thirty days of the expiration of the insurance policies, no fraction of its claim will
       be classified as a general unsecured claim and J.S. Ward will have no further distribution
       on its claim.


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2.21   Class 8 consists of all allowed unsecured nonpriority claims to non-insiders. Class 8
       claimants shall be paid pro rata, from 50 Plan Payments of $1,100, which shall begin on
       the eleventh month of payment after the Initial Distribution Date.

2.22   Class 9 consists of the unsecured claim of Rachel Marzak, who is classified as an insider
       for organizational purposes of the Plan. Ms. Marzak will receive no distribution for her
       Class 9 claim.

2.23   Class 10 consists of the equity interest in Debtor of Tony Pennington. Class 10 will retain
       its membership interest in Debtor unless a Class entitled to vote in Classes 1 – 9 objects
       to the Plan, in which case Mr. Pennington’ equity interest shall be auctioned as outlined
       in § 4.02, below.

                                  ARTICLE III
               TREATMENT OF ADMINISTRATIVE EXPENSE CLAIMS,
                 U.S. TRUSTEES FEES, AND PRIORITY TAX CLAIMS

3.01   Unclassified Claims. Under § 1123(a)(1) of the Code, administrative expense claims and
       priority tax claims are not in classes.

3.02   Administrative Expense Claims. Each holder of an administrative expense claim allowed
       under § 503 of the Code (“Administrative Expense Claim”) will be paid in full, in cash,
       on the later of the Effective Date of this Plan (as defined in Article VII) or the date that
       the claim is allowed, or upon such other terms as may be agreed upon by the holder of the
       claim and Debtor. As with all payments to secured creditors, professional fees shall not
       be designated Plan Payments. Pre-confirmation professional fees shall be subject to
       approval under 11 U.S.C. § 330, but post-confirmation professional fees incurred by the
       Reorganized Debtor shall not. Pre-confirmation Attorneys’ fees shall accrue interest at
       the rate of 1% per month from the Effective Date, and Debtor shall pay pre-confirmation
       attorneys’ fees in monthly payments of $5,000 beginning on or before the Effective Date.
       All allowed fee applications shall be paid in the amount determined by an order of the
       Bankruptcy Court approving such fee applications, or as may otherwise be agreed upon
       in writing between Debtor and each such Claimant, or as provided herein. Debtor
       estimates that pre- and post-confirmation attorneys’ fees will total $70,000 (of which
       Debtor has already paid approximately $30,000), and the remainder of these fees shall be
       paid outside of Plan Payments.

3.03   Priority Tax Claims. The Plan treats the secured claims of the Internal Revenue Service
       (“IRS”), New Mexico Taxation and Revenue Department (“TRD”), New Mexico
       Department of Workforce Solutions (“NMDWS”), and the Texas Comptroller of Public
       Accounts (“TCPA”), to the extent not objected to, as a priority claim for purposes of
       distribution, because the taxing authorities’ respective secured claims are entitled to
       priority treatment under §§ 507(a)(8) and 1129(a)(9)(D) of the Bankruptcy Code.

       In tabular form, Debtor’s proposed treatment of Priority Tax Claims is as follows:




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 Description     Estimated              Date of     Treatment
 (name and       Amount                 Assessment/
 type of tax)    Owed                   Origination
 New Mexico      As of June 20,         Assessed    The allowed priority and secured tax claim
 Taxation and    2016, Debtor           2013-2015   of TRD shall be paid in full in equal
 Revenue         estimates a total                  monthly installments within 60 months of
 Department      liability to TRD                   the Petition Date, as required by
 (“TRD”)         of $221,723.89.                    Bankruptcy Code § 1129(A)(9)(c)(ii).
                 TRD claims                         While Debtor plans on objecting to TRD’s
                 $279,740.33 is                     claim, if such objection is not resolved by
                 owed, of which                     the Initial Distribution Date, Debtor will
                 $275,656.57 is                     pay to TRD a payment sufficient to
                 either secured or                  amortize $275,656.57, minus the Adequate
                 entitled to                        Protection Payments paid to TRD thus far
                 priority.                          since the Petition Date, over the remaining
                                                    sixty months since the Petition Date,
                                                    accruing interest at 4% APR from the
                                                    Effective Date. By way of example, if the
                                                    Effective Date occurs in August of 2015
                                                    and the Initial Distribution Date occurs in
                                                    September of 2016, and if TRD’s claim is
                                                    reduced by only $21,000 (the $3,500
                                                    Adequate Protection Payment for March
                                                    through August) by the Initial Distribution
                                                    Date, then Debtor will commence to make
                                                    monthly payments to TRD of $5,249.74 on
                                                    the Initial Distribution Date, and continue to
                                                    make monthly payments of such amount
                                                    unless and until TRD’s claim is modified or
                                                    adjusted.
 Internal        The IRS claims         Assessed      The allowed priority and secured tax claim
 Revenue         that Debtor owes       2014-2015     of the IRS shall be paid in full in equal
 Service         $570,897.31, of                      monthly installments within 60 months of
 (“IRS”)         which                                the Petition Date, as required by
                 $549,127.51 is                       Bankruptcy Code § 1129(A)(9)(c)(ii).
                 either secured or                    While Debtor may object to the IRS’s
                 entitled to                          claim, if such objection is not resolved by
                 priority. Debtor is                  the Initial Distribution Date, Debtor will
                 in the process of                    pay to the IRS a payment sufficient to
                 evaluating this                      amortize $549,127.51, minus the Adequate
                 claim.                               Protection Payments paid to the IRS thus
                                                      far since the Petition Date, over the
                                                      remaining sixty months since the Petition
                                                      Date, accruing interest at 3% APR from the
                                                      Effective Date. By way of example, if the
                                                      Effective Date occurs in August of 2015
                                                      and the Initial Distribution Date occurs in
                                                      September of 2016, and if the IRS’s claim
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                                                      is decreased by only $42,000 (the $7,000
                                                      Adequate Protection Payment for March
                                                      through August) by the Initial Distribution
                                                      Date, then Debtor will commence to make
                                                      monthly payments to the IRS of $10,228.29
                                                      on the Initial Distribution Date, and
                                                      continue to make monthly payments of such
                                                      amount unless and until TRD’s claim is
                                                      modified or adjusted.
 Texas           TCPA’s two           Assessed        The priority portion of TCPA’s two claims
 Comptroller     proofs of claim      2014-2015       shall be paid in full in equal monthly
 of Public       allege a total                       installments within 60 months of the
 Accounts        indebtedness of                      Petition Date, as required by Bankruptcy
 (“TCPA”)        $15,847.42, of                       Code § 1129(A)(9)(c)(ii), at 3% APR from
                 which $13,802.23                     the Effective Date. By way of example, if
                 is claimed to be                     the Effective Date occurs in August of 2015
                 entitled to priority                 and the Initial Distribution Date occurs in
                 status.                              September of 2016, then Debtor will make
                                                      monthly payments to TCPA of $278.38 on
                                                      the Initial Distribution Date, and continue to
                                                      make such monthly payments for 52
                                                      additional months, with the last payment
                                                      due on the first business day after January
                                                      1, 2021.
 New Mexico      NMDWS asserts        Assessed        NMDWS’s claim, less the sum of all
 Department      a total claim of     2013-2015       Adequate Protection Payments made to
 of Workforce    $7,697.12, all of                    NMDWS, shall be paid in full in equal
 Solutions       which is either                      monthly installments within 60 months of
 (“NMDWS”)       secured or                           the Petition Date, as required by
                 priority.                            Bankruptcy Code § 1129(A)(9)(c)(ii), at 3%
                                                      APR from the Effective Date. By way of
                                                      example, if the Effective Date occurs in
                                                      August of 2015 and the Initial Distribution
                                                      Date occurs in September of 2016, and if
                                                      Debtor’s Adequate Protection Payments to
                                                      NMDWS prior to the Initial Distribution
                                                      Date total $3,000, then Debtor will pay the
                                                      remaining $4,697.12 in 53 monthly
                                                      payments, beginning on the Initial
                                                      Distribution Date, of $94.74, with the last
                                                      payment due on the first business day after
                                                      January 1, 2021.

 3.04   United States Trustee Fees. All fees required to be paid by 28 U.S.C. § 1930(a)(6) (U.S.
        Trustee Fees) will accrue and be timely paid until the case is closed, dismissed, or
        converted to another chapter of the Code. Any U.S. Trustee Fees owed on or before the
        Effective Date of this Plan will be paid on the Effective Date.

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                              ARTICLE IV
            TREATMENT OF CLAIMS AND INTERESTS UNDER THE PLAN

        4.01 Claims and interests shall be treated as follows under this Plan:

  Class                               Impair     Treatment
                                      ment
  Class 1: The secured claim of       Impaired   Debtor proposes to treat Western Bank’s claim as
  Western Bank stemming from                     fully secured under the Plan and pay to Western Bank
  six loans issued between March                 132 monthly payments of $17,200, or a total of
  31, 2009 and March 14, 2014,                   $2,270,400, in full satisfaction of its debt to Western
  numbered 64069-73, 64069-78,                   Bank. (While this proposal does not specify an
  64069-80, 64069-84, 64069-86,                  interest rate over which a principal sum will accrue,
  and 64069-87. These loans are                  this payment schedule is equivalent to amortizing
  cross-collateralized, and fully                $1,787,467.46 over eleven years at an annual interest
  secured by Debtor’s cash,                      rate of 4.51%.) Payments to Western Bank will be
  accounts receivable, and                       due on the fifteenth of each month, beginning in June
  Debtor’s rigs.                                 of 2016.
  Class 2A: The secured claim of      Impaired   Debtor proposes to resume regular monthly payments
  Ally Bank Corp. for                            of $1,041.69 beginning July of 2016 until this vehicle
  $60,882.68, secured by                         is paid in full. Debtor proposes to not pay a separate
  Debtor’s 2015 Chevrolet                        charge for any pre- or post-petition arrearage, but to
  Silverado with VIN ending in                   pay the additional interest (at 4.99% APR) that
  1192.                                          accrued from Debtor’s lapse of monthly payments
                                                 through July of 2016. To the degree that Debtor’s
                                                 debt in this class is cross-collateralized with the other
                                                 Class 2 debts owed to Ally, Debtor proposes to
                                                 terminate such cross-collateralization, such that
                                                 Default (as defined below) of Debtor’s obligations
                                                 under this Class will give Ally recourse against this
                                                 vehicle only.
  Class 2B: The secured claim of      Impaired   Debtor proposes to resume regular monthly payments
  Ally Bank Corp. for                            of $647.95 beginning July of 2016 until this vehicle
  $35,908.04, secured by                         is paid in full. Debtor proposes to not pay a separate
  Debtor’s 2013 Ford F-150 with                  charge for any pre- or post-petition arrearage, but to
  VIN ending in 2460.                            pay the additional interest (at 6.29% APR) that
                                                 accrued from Debtor’s lapse of monthly payments
                                                 through July of 2016. To the degree that Debtor’s
                                                 debt in this class is cross-collateralized with the other
                                                 Class 2 debts owed to Ally, Debtor proposes to
                                                 terminate such cross-collateralization, such that
                                                 Default (as defined below) of Debtor’s obligations
                                                 under this Class will give Ally recourse against this
                                                 vehicle only.




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  Class 2C: The secured claim of      Impaired   Debtor proposes to resume regular monthly payments
  Ally Bank Corp. for                            of $971.51 beginning July of 2016 until this vehicle
  $48,054.59, secured by                         is paid in full. Debtor proposes to not pay a separate
  Debtor’s 2014 Ford F-250 with                  charge for any pre- or post-petition arrearage, but to
  VIN ending in 2841.                            pay the additional interest (at 11.4% APR) that
                                                 accrued from Debtor’s lapse of monthly payments
                                                 through July of 2016. To the degree that Debtor’s
                                                 debt in this class is cross-collateralized with the other
                                                 Class 2 debts owed to Ally, Debtor proposes to
                                                 terminate such cross-collateralization, such that
                                                 Default (as defined below) of Debtor’s obligations
                                                 under this Class will give Ally recourse against this
                                                 vehicle only.
  Class 2D: The secured claim of      Impaired   Debtor proposes to resume regular monthly payments
  Ally Bank Corp. for                            of $700.36 beginning July of 2016 until this vehicle
  $37,551.29, secured by                         is paid in full. Debtor proposes to not pay a separate
  Debtor’s 2015 Chevrolet                        charge for any pre- or post-petition arrearage, but to
  Silverado with VIN ending in                   pay the additional interest (at 7.75% APR) that
  5038.                                          accrued from Debtor’s lapse of monthly payments
                                                 through July of 2016. To the degree that Debtor’s
                                                 debt in this class is cross-collateralized with the other
                                                 Class 2 debts owed to Ally, Debtor proposes to
                                                 terminate such cross-collateralization, such that
                                                 Default (as defined below) of Debtor’s obligations
                                                 under this Class will give Ally recourse against this
                                                 vehicle only.
  Class 2E: The secured claim of      Impaired   Debtor proposes to resume regular monthly payments
  Ally Bank Corp. for                            of $913.74 beginning July of 2016 until this vehicle
  $50,126.99, secured by                         is paid in full. Debtor proposes to not pay a separate
  Debtor’s 2015 Chevrolet                        charge for any pre- or post-petition arrearage, but to
  Silverado with VIN ending in                   pay the additional interest (at 6.69% APR) that
  5024.                                          accrued from Debtor’s lapse of monthly payments
                                                 through July of 2016. To the degree that Debtor’s
                                                 debt in this class is cross-collateralized with the other
                                                 Class 2 debts owed to Ally, Debtor proposes to
                                                 terminate such cross-collateralization, such that
                                                 Default (as defined below) of Debtor’s obligations
                                                 under this Class will give Ally recourse against this
                                                 vehicle only.
  Class 2F: The secured claim of      Impaired   Debtor proposes to resume regular monthly payments
  Ally Bank Corp. for                            of $1,153.21 beginning July of 2016 until this vehicle
  $43,489.24, secured by                         is paid in full. Debtor proposes to not pay a separate
  Debtor’s 2014 Ford F-250 with                  charge for any pre- or post-petition arrearage, but to
  VIN ending in 3479.                            pay the additional interest (at 7.04% APR) that
                                                 accrued from Debtor’s lapse of monthly payments
                                                 through July of 2016. To the degree that Debtor’s
                                                 debt in this class is cross-collateralized with the other
                                                 Class 2 debts owed to Ally, Debtor proposes to
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                                                 terminate such cross-collateralization, such that
                                                 Default (as defined below) of Debtor’s obligations
                                                 under this Class will give Ally recourse against this
                                                 vehicle only.


  Class 2G: The secured claim of      Impaired   Debtor proposes to resume regular monthly payments
  Ally Bank Corp. for                            of $1,430.84 beginning July of 2016 until this vehicle
  $57,909.89, secured by                         is paid in full. Debtor proposes to not pay a separate
  Debtor’s 2015 GMC Yukon                        charge for any pre- or post-petition arrearage, but to
  with VIN ending in 3209.                       pay the additional interest (at 5.45% APR) that
                                                 accrued from Debtor’s lapse of monthly payments
                                                 through July of 2016. To the degree that Debtor’s
                                                 debt in this class is cross-collateralized with the other
                                                 Class 2 debts owed to Ally, Debtor proposes to
                                                 terminate such cross-collateralization, such that
                                                 Default (as defined below) of Debtor’s obligations
                                                 under this Class will give Ally recourse against this
                                                 vehicle only.
  Class 2H: The secured claim of      Impaired   Debtor proposes to resume regular monthly payments
  Ally Bank Corp. for                            of $999.98 beginning July of 2016 until this vehicle
  $37,867.86, secured by                         is paid in full. Debtor proposes to not pay a separate
  Debtor’s 2014 Ford F-250 with                  charge for any pre- or post-petition arrearage, but to
  VIN ending in 0575.                            pay the additional interest (at 9.24% APR) that
                                                 accrued from Debtor’s lapse of monthly payments
                                                 through July of 2016. To the degree that Debtor’s
                                                 debt in this class is cross-collateralized with the other
                                                 Class 2 debts owed to Ally, Debtor proposes to
                                                 terminate such cross-collateralization, such that
                                                 Default (as defined below) of Debtor’s obligations
                                                 under this Class will give Ally recourse against this
                                                 vehicle only.
  Class 2I: The secured claim of      Impaired   Debtor proposes to resume regular monthly payments
  Ally Bank Corp. for                            of $1,252.79 beginning July of 2016 until this vehicle
  $45,006.97, secured by                         is paid in full. Debtor proposes to not pay a separate
  Debtor’s 2014 Ford F-350 with                  charge for any pre- or post-petition arrearage, but to
  VIN ending in 0584.                            pay the additional interest (at 9.89% APR) that
                                                 accrued from Debtor’s lapse of monthly payments
                                                 through July of 2016. To the degree that Debtor’s
                                                 debt in this class is cross-collateralized with the other
                                                 Class 2 debts owed to Ally, Debtor proposes to
                                                 terminate such cross-collateralization, such that
                                                 Default (as defined below) of Debtor’s obligations
                                                 under this Class will give Ally recourse against this
                                                 vehicle only.




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  Class 2J: The secured claim of      Impaired   Debtor proposes to resume regular monthly payments
  Ally Bank Corp. for                            of $1,011.45 beginning July of 2016 until this vehicle
  $52,735.35, secured by                         is paid in full. Debtor proposes to not pay a separate
  Debtor’s 2013 Ford F-150 with                  charge for any pre- or post-petition arrearage, but to
  VIN ending in 5906.                            pay the additional interest (at 8.99% APR) that
                                                 accrued from Debtor’s lapse of monthly payments
                                                 through July of 2016. To the degree that Debtor’s
                                                 debt in this class is cross-collateralized with the other
                                                 Class 2 debts owed to Ally, Debtor proposes to
                                                 terminate such cross-collateralization, such that
                                                 Default (as defined below) of Debtor’s obligations
                                                 under this Class will give Ally recourse against this
                                                 vehicle only.
  Class 3: The secured claim of       Impaired   Debtor proposes to bifurcate Vista Bank’s claims
  Vista Bank stemming from two                   under the Plan and pay to Vista Bank, for the secured
  loans issued on November 4,                    portion of Vista Bank’s claim, the sum of $75,000,
  2013 and April 24, 2014, and                   amortized over five years at 6.0% APR, resulting in
  numbered 66721 and 67684,                      60 equal monthly payments of $1,450, or a total of
  respectively, for which Alliance               $87,000. The foregoing payments to Vista Bank will
  pledged five blow-out                          be due on the fifteenth of each month, beginning in
  preventers with their associated               August of 2016. Any adequate protection payments
  trailers and accessories (worth                Debtor has made prior to August of 2016 will be
  $75,000 on the Petition Date).                 counted against interest only and will not reduce the
                                                 principal amount owed on the secured portion of
                                                 Vista Bank’s claim.
  Class 4: The secured claim of       Impaired   Debtor proposes to continue its regular monthly
  First American Bank for                        payments of $1,300.00 to First American Bank until
  $17,137.65, secured by                         this debt is paid in full. Because the Cash Collateral
  Debtor’s accounts receivable                   Orders do not specify what fraction of the Adequate
  and a 2011 utility trailer with                Protection Payments will be applied to interest and
  VIN ending in 1062.                            what fraction will be applied to principal, Debtor
                                                 proposes to the apply the Adequate Protection
                                                 Payments made to First American Bank as though
                                                 they had been regular payments made under this debt,
                                                 first applied to any accrued interest (at 7.0% APR)
                                                 then to principal. Debtor proposes to not pay any
                                                 separate payments for post-petition arrearages, but to
                                                 pay the accrued interest (at 7.0% APR) on the
                                                 outstanding principal from the Petition Date, adjusted
                                                 for Debtor’s Adequate Protection Payments.
  Class 5A: The secured claim of      Impaired   Debtor proposes to resume regular monthly payments
  Ford Motor Credit for                          of $1,145.36 beginning on the Effective Date until
  $8,226.23, secured by Debtor’s                 this vehicle is paid in full. Debtor proposes to not pay
  2013 Ford F-150 with VIN                       a separate charge for any pre- or post-petition
  ending in 9446.                                arrearage, but to pay the additional interest at 4.0%
                                                 APR that accrued from Debtor’s lapse of monthly
                                                 payments through the Effective Date. To the degree
                                                 that Debtor’s debt in this class is cross-collateralized
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                                                 with the other Class 5 debts owed to Ford, Debtor
                                                 proposes to terminate such cross-collateralization,
                                                 such that Default (as defined below) of Debtor’s
                                                 obligations under this Class will give Ford recourse
                                                 against this vehicle only.
  Class 5B: The secured claim of      Impaired   Debtor proposes to resume regular monthly payments
  Ford Motor Credit for                          of $865.37 beginning on the Effective Date until this
  $11,718.90, secured by                         vehicle is paid in full. Debtor proposes to not pay a
  Debtor’s 2013 Ford F-250 with                  separate charge for any pre- or post-petition
  VIN ending in 1017.                            arrearage, but to pay the additional interest at 4.0%
                                                 APR that accrued from Debtor’s lapse of monthly
                                                 payments through the Effective Date. To the degree
                                                 that Debtor’s debt in this class is cross-collateralized
                                                 with the other Class 5 debts owed to Ford, Debtor
                                                 proposes to terminate such cross-collateralization,
                                                 such that Default (as defined below) of Debtor’s
                                                 obligations under this Class will give Ford recourse
                                                 against this vehicle only.
  Class 5C: The secured claim of      Impaired   Debtor proposes to resume regular monthly payments
  Ford Motor Credit for                          of $1,312.72 beginning on the Effective Date until
  $36,657.93, secured by                         this vehicle is paid in full. Debtor proposes to not pay
  Debtor’s 2013 Ford F-150 with                  a separate charge for any pre- or post-petition
  VIN ending in 7410.                            arrearage, but to pay the additional interest at 4.0%
                                                 APR that accrued from Debtor’s lapse of monthly
                                                 payments through the Effective Date. To the degree
                                                 that Debtor’s debt in this class is cross-collateralized
                                                 with the other Class 5 debts owed to Ford, Debtor
                                                 proposes to terminate such cross-collateralization,
                                                 such that Default (as defined below) of Debtor’s
                                                 obligations under this Class will give Ford recourse
                                                 against this vehicle only.
  Class 5D: The secured claim of      Impaired   Debtor proposes to resume regular monthly payments
  Ford Motor Credit for                          of $1,053.86 beginning on the Effective Date until
  $10,519.20, secured by                         this vehicle is paid in full. Debtor proposes to not pay
  Debtor’s 2013 Ford F-250 with                  a separate charge for any pre- or post-petition
  VIN ending in 3867.                            arrearage, but to pay the additional interest at 4.0%
                                                 APR that accrued from Debtor’s lapse of monthly
                                                 payments through the Effective Date. To the degree
                                                 that Debtor’s debt in this class is cross-collateralized
                                                 with the other Class 5 debts owed to Ford, Debtor
                                                 proposes to terminate such cross-collateralization,
                                                 such that Default (as defined below) of Debtor’s
                                                 obligations under this Class will give Ford recourse
                                                 against this vehicle only.




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  Class 5E: The secured claim of      Impaired   Debtor proposes to resume regular monthly payments
  Ford Motor Credit for                          of $1,463.00 beginning on the Effective Date until
  $30,237.27, secured by                         this vehicle is paid in full. Debtor proposes to not pay
  Debtor’s 2014 Ford F-250 with                  a separate charge for any pre- or post-petition
  VIN ending in 5367.                            arrearage, but to pay the additional interest at 4.0%
                                                 APR that accrued from Debtor’s lapse of monthly
                                                 payments through the Effective Date. To the degree
                                                 that Debtor’s debt in this class is cross-collateralized
                                                 with the other Class 5 debts owed to Ford, Debtor
                                                 proposes to terminate such cross-collateralization,
                                                 such that Default (as defined below) of Debtor’s
                                                 obligations under this Class will give Ford recourse
                                                 against this vehicle only.
  Class 6: The secured claim of       Impaired   Debtor proposes to bifurcate its obligation to Wells
  Wells Fargo for $33,589.19,                    Fargo under the Plan and pay to Wells Fargo, for the
  secured by Debtor’s 2013 GMC                   secured portion of Wells Fargo’s claim, the sum of
  Sierra.                                        $15,938, amortized over five years at 4.0% APR,
                                                 resulting in 60 equal monthly payments of $293.52,
                                                 or a total of $17,611.20. (Debtor proposes to include
                                                 the unsecured portion of Wells Fargo’s claim,
                                                 $17,651.19 ($33,589.19 - $15,938.00), in the general
                                                 unsecured class of creditors.)
  Class 7: The secured claim of   Impaired       Pursuant to the Order Granting Adequate Protection
  J.S. Ward & Son, Inc. (“J.S.                   Payments to J.S. Ward & Son (the “J.S. Ward
  Ward”), filed in the amount of                 Adequate Protection Order”), the unearned insurance
  $123,129.76, of which J.S.                     premiums decrease at the rate of $561.66 per day.
  Ward claims that $113,188.68 is                Doc. 91, ¶ 7. Since March 3, 2016, Debtor has paid to
  secured.                                       J.S. Ward semi-monthly payments equal to the daily
                                                 rate of $561.66, in order to adequately protect J.S.
                                                 Ward from the loss of value of its collateral. Debtor
                                                 proposes to continue these adequate protection
                                                 payments to J.S. Ward under the Plan until the
                                                 secured portion of J.S. Ward’s claim is paid in full,
                                                 which is calculated, under the J.S. Ward Adequate
                                                 Protection Order, to coincide with the expiration of
                                                 the insurance policies that secure the claim. After the
                                                 secured portion of J.S. Ward’s claim has been paid in
                                                 full, or if J.S. Ward terminates the insurance policies
                                                 pursuant to the default provisions of the J.S. Ward
                                                 Adequate Protection Order, then J.S. Ward shall be
                                                 required to file and serve a Notice of Outstanding
                                                 Balance Due on its claim within thirty days. If J.S.
                                                 Ward does not file and serve such Notice within
                                                 thirty days of the expiration of the insurance policies,
                                                 no fraction of its claim will be classified as a general
                                                 unsecured claim and J.S. Ward will have no further
                                                 distribution on its claim.

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  Class 8: All non-priority           Impaired   Noninsider holders of allowed non-priority claims
  unsecured claims of noninsiders                shall be paid pro rata, from 50 Plan Payments of
  allowed under § 502 of the                     $1,100, which shall begin on the eleventh month of
  Code. Debtor currently                         payment after the Initial Distribution Date. (Although
  estimates these claims at                      this is a 60-month Plan, the first ten months involve
  $524,559.90.                                   payments to secured, priority, and administrative
                                                 claimants only.)
  Class 9: The insider unsecured      Impaired   Ms. Marzak will receive nothing for her claim.
  claim of Rachel Marzak for
  $90,000.



  Class 10: The Equity interest of    Unimp-     Mr. Pennington shall retain his membership interest
  Tony Pennington (100%               aired      in Debtor, unless a Class entitled to vote objects to
  membership interest holder)         (Unless    the Plan, in which case Mr. Pennington’ equity
                                      a senior   interest shall be auctioned as set forth immediately
                                      Class      below.
                                      Objects
                                      to Plan)

 4.02   Cramdown: If any impaired class votes to reject this Plan, Debtor reserves the right to
        request that the Bankruptcy Court confirm the Plan under the “cramdown” provisions of
        11 U.S.C. § 1129(b). Among the conditions for a cramdown is the requirement that the
        plan be “fair and equitable” with respect to each class of impaired unsecured claims that
        has not accepted it. 11 U.S.C. § 1129(b)(1). A plan may be found to be fair and equitable
        with respect to a class of unsecured claims if “the holder of any claim . . . junior to the
        claims of such class will not receive or retain under the plan on account of such junior
        claim . . . any property.” 11 U.S.C. § 1129(b)(2)(B)(ii).

        In the event that Debtor requests cramdown with regard to a Class which does not vote
        for and accept the Plan or which files a timely objection to Plan confirmation, and if such
        class is senior to the Class of Debtor’s equity interest, then, because of the absolute
        priority rule of 11 U.S.C. § 1129(b)(2)(B)(ii), the shareholder interest of Tony
        Pennington will be put up for auction, as follows:

     1. The asset to be auctioned is the membership interest in the Reorganized Debtor.
     2. Membership interest will be sold in its entirety; partial purchases of the membership
 interest in Debtor shall not be allowed.
     3. The auction shall take place in Albuquerque, New Mexico at a location designated by the
 Court at a date and time designated by the Court, to be noticed to creditors and other parties of
 interest at least fourteen (14) days prior to the date of the auction.
     4. Parties wishing to participate in the auction must submit an “Expression of Interest”
 to Debtor declaring a party’s desire to bid. The Expression of Interest must be received by
 Debtor’s counsel at least five business days prior to the date of the auction. The Expression of
 Interest must demonstrate that the bidder has the financial means by which to complete the
 purchase of the membership interest. This may be accomplished by furnishing to Debtor’s
 counsel documentation showing available funds of at least the purchase price that the bidder will
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 bid at the sale, or by providing a cashier’s check of $10,000, which shall be fully refunded if the
 party providing this is not the successful bidder at the auction.
     5. No party shall be allowed to bid contingent on the bidder receiving financing, nor may
 bids be contingent on a bidder receiving approval from its board of directors or a regulatory
 body.
     6. Any party bidding at the auction must identify itself. An individual bidding on behalf of
 someone else, an organization, corporation, or trust must identify his or her principal.
     7. Any bid submitted at the auction must be irrevocable until the closing and final approval
 by the Court of the sale of assets.
     8. Any party bidding at the auction must state that it does not request any transaction or
 break-up fee, expense reimbursement, or other transaction expenses paid from the purchase
 price.
     9. A back-up bid shall be solicited at the time of the auction in the event that the winning
 bidder is unable to finalize the sale.
     10. If the winning bidder is unable to finalize the sale because of lack of funding, and if such
 bidder paid $10,000 to be able to participate in the auction, then such bidder shall forfeit such
 monies to the Reorganized Debtor.

                                  ARTICLE V
                     ALLOWANCE AND DISALLOWANCE OF CLAIMS

 5.01   Disputed Claim. A disputed claim is a claim that has not been allowed or disallowed by a
        final non-appealable order, and as to which either: (i) a proof of claim has been filed or
        deemed filed, and Debtor or another party in interest has filed an objection; or (ii) no
        proof of claim has been filed, and Debtor has scheduled such claim as disputed,
        contingent, or unliquidated.

 5.02   Delay of Distribution on a Disputed Claim. No distribution will be made on account of a
        disputed claim unless such claim is allowed by a final non-appealable order. A disputed
        claim that is not so allowed shall receive no payment under the Plan and shall be
        discharged in full in accordance with the order confirming the Plan.

 5.03   Power to Object to, Litigate, and Settle Disputed Claims. After the Effective Date,
        Debtor, shall have the sole power and authority (1) to object to Claims and (2) to litigate
        any Claim or Interest to Final Order, to settle and compromise any Claim with court
        approval and compliance with Rule 9019 of the Federal Rules of Bankruptcy Procedure,
        and withdraw any objection to any Claim, other than a Claim deemed allowed pursuant to
        the Plan or allowed pursuant to a Final Order.

 5.04   5.04 Deadlines for Filing Claims.
        (a)     Bar Dates for Claims and Interests (Other Than Administrative Claims). If a party
        has not filed a claim by the Bar Date established by Order of the Bankruptcy Court and
        that party’s claim was subject to the Bar Date, the claim is barred unless, and to the
        extent that, Debtor listed such Claim in its Schedules filed with the Bankruptcy Court
        pursuant to § 521 of the Bankruptcy Code as being liquidated in amount, not disputed and
        not contingent. If the party’s claim arises from rejection of an executory contract effected
        by confirmation of the Plan, or if the claim was otherwise not subject to the Bar Date, the
        claim is barred 30 days after the Debtor serves the party with notice of the deadline to file

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        proofs of claim and interests. Notice of a creditor-specific deadline to file proofs of claim
        and interests shall be provided by means of a separate notice to the specific creditor or
        claimant and filed with the Bankruptcy Court. Any such creditor or claimant who does
        not file a proof of claim by the noticed deadline will be forever barred from asserting its
        Claim.
        (b)      Deadline for Filing Administrative Claims Other than Fee Applications/Contents
        of Application. All requests for payment of Administrative Claims (other than fee
        applications and requests for payment of administrative expenses filed by government
        units, including the State of New Mexico, Taxation and Revenue Department) must be
        filed with the Bankruptcy Court within 30 days after the Effective Date. Any holder of
        such a Claim that does not file a request for payment within such 30-day period shall be
        forever barred from asserting its Claim. Any application for allowance of an
        Administrative Claim, other than a fee application, shall include: (i) the complete name
        and mailing address of the Claimant; (ii) the date the Administrative Claim was incurred;
        (iii) the amount of the Administrative Claim; (iv) the basis of the Claim; and (v) a copy
        of the contract, invoices or a summary thereof, or other documentation sufficient to
        support the Claim. All fee applications must be filed within 60 days of the Effective Date.
        The administrative claims bar date is limited to claims arising before this Order. That bar
        date does not apply to potential administrative claims not yet incurred.

 5.05   Time to Object to Claims and Interests (Other than Administrative Claims). Unless
        another date is established by the Bankruptcy Court or the Plan, any person entitled to
        object to a Claim or Interest must file the objection with the Bankruptcy Court within 60
        days after the later of (i) the Effective Date or (ii) the date that a proof of Claim with
        respect to such Claim is filed or deemed to have been filed with the Bankruptcy Court.

 5.06   Allowance of Administrative Claims (Including Fee Requests). No administrative claim,
        including any fee request, shall be allowed without prior notice to creditors and parties
        and interest in accordance with the Bankruptcy Code and Bankruptcy Rules. Upon entry
        of an Order allowing such administrative claim, Debtor shall pay such claim in
        accordance with the Plan, or as otherwise agreed between the Claimant and Debtor.

 5.07   Objections to Administrative Claims (Including Fee Applications). Any objection to an
        Administrative Claim, including a fee application, shall be filed with the Bankruptcy
        Court within the notice period specified in the applicable notice or as otherwise ordered
        by the Court.

 5.08   Less Favorable Treatment. Debtor and the holder of an Allowed Claim may agree to
        payment of such Allowed Claim on a basis less favorable to the holder than provided in
        this Plan.

                                 ARTICLE VI
          PROVISIONS FOR EXECUTORY CONTRACTS AND UNEXPIRED LEASES

 6.01    Assumed Executory Contracts and Unexpired Leases.

        (a)    A number of Debtor’s insurance policies, active on the Petition Date, have since
        expired by their own terms. Debtor proposes to assumes its insurance agreements with

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        New Mexico Mutual Casualty Ins. Co., and continue its post-petition insurance
        agreements with Kinsale Insurance Company, National Liability & Fire, Allied World
        Specialty Insurance, and Landmark American Insurance Company. Debtor also proposes
        to continue leasing the shop located at 5773 Seven Rivers Hwy, Artesia, NM 88210 from
        Debtor’s principal, Mr. Pennington. Beginning no later than the Effective Date, Mr.
        Pennington will begin charging $1,000 in monthly rent for the shop, plus the utilities and
        maintenance that Debtor has historically paid. Finally, Debtor proposes to continue its
        cellular phone contracts with Verizon in the ordinary course of Debtor’s business.

        (b)     Upon the Effective Date of this Plan, Debtor will be conclusively deemed to have
        rejected all executory contracts and/or unexpired leases not assumed under section
        6.01(a), above.

        (c)     A proof of a claim arising from the rejection of an executory contract or
        unexpired lease under this section must be filed no later than thirty (30) calendar days
        after the date of mailing to the claimant of notice of entry of the order confirming this
        Plan. If no such proof of Claim is timely filed, the Claim arising from rejection of the
        executory contract or unexpired lease shall be disallowed in full.

                                  ARTICLE VII
                     MEANS FOR IMPLEMENTATION OF THE PLAN

 7.01   Funding the Plan. Debtor will fund the plan from future income of Debtor and, in
        Debtor’s discretion, other property of Debtor.

 7.02   The Confirmation Order. The Confirmation Order shall empower and authorize the
        necessary parties to take or cause to be taken, on or prior to the Effective Date, all actions
        necessary to enable them to implement the Plan.

 7.03   Debtor as Disbursement Agent. Debtor will act as disbursement agent for all payments
        made under the Plan.

 7.04   Payment of Claims. Debtor shall make payment to each Claim holder of record at the
        mailing address of record in the Bankruptcy Case, or such other address as the holder
        may provide in writing to Debtor. No distribution shall be made to any claimant on any
        distribution unless the payable distribution sum exceeds the sum of $10.00 after
        calculation of the face value of the allowed claim. Debtor may elect, in its sole discretion,
        to pay Holders of Class 1 – 8 Claims in periodic amounts that are greater than the
        amounts shown or by lump sum payment in lieu of periodic distributions, or upon such
        other terms as may be agreed upon between Debtor and the holders of such Claims.

 7.05   Payments by Co-Debtor. To the extent that a creditor recovers a portion of its allowed
        Claim from a co-debtor of Debtor, the amount of the creditor’s allowed Claim that is
        payable under this Plan shall be reduced by the amount that the creditor receives. This
        provision shall not apply to New Mexico Taxation and Revenue Department (“TRD”),
        except to the extent that TRD shall not be permitted to cumulatively recover more than
        the total amount due from Debtor in payment of a debt for which Debtor is liable.


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                                        ARTICLE VIII
                                     GENERAL PROVISIONS

 8.01   Definitions and Rules of Construction. In addition to terms defined in this Plan, the
        definitions and rules of construction set forth in §§ 101 and 102 of the Code shall apply
        when terms defined or construed in the Code are used in this Plan, and they are
        supplemented by the following definitions:

                (a) “Confirmation Date” means the date the Bankruptcy Court enters a
                    Confirmation Order confirming the Plan.

                (b) “Confirmation Order” means the order of the Bankruptcy Court pursuant to
                    §1129 of the Bankruptcy Code confirming the Plan and approving the
                    transactions contemplated under the Plan.

                (c) “Plan Payment” means the $1,100 that Debtor will pay monthly, which shall
                    first be applied to any post-petition administrative tax expenses, then to the
                    priority claim of New Mexico Taxation and Revenue Department, and then to
                    Class 8, General Unsecured Creditors.

                (d) “Effective Date” means fourteenth calendar day after the date than an order
                    confirming the Plan is entered, subject to the provisions in § 8.02, below.

                (e) “Initial Distribution Date” means the first day of the first month that is at
                    least thirty (30) days after the Effective Date.

 8.02   Effective Date of Plan. The Effective Date of this Plan is the fourteenth day after the date
        of the entry of the Confirmation Order, calculated in accordance with Bankruptcy Rules
        8002(a) and 9006(a), but if a stay of the Confirmation Order is in effect on that date, the
        Effective Date will be the first business day after that date on which no stay of the
        Confirmation Order is in effect, provided that the Confirmation Order has not been
        vacated.

 8.03   Severability. If any provision in this Plan is determined to be unenforceable, the
        determination will in no way limit or affect the enforceability and operative effect of any
        other provision of this Plan.

 8.04   Binding Effect. The rights and obligations of any entity named or referred to in this Plan
        will be binding upon, and will inure to the benefit of the successors or assigns of such
        entity.

 8.05   Captions. The headings contained in this Plan are for convenience of reference only and
        do not affect the meaning or interpretation of this Plan. As the context may require, the
        singular includes the plural, and the plural includes the singular.

 8.06   Controlling Effect/Governing Law. Unless a rule of law or procedure is supplied by
        federal law (including the Code or the Federal Rules of Bankruptcy Procedure), the laws


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         of the State of New Mexico govern this Plan and any agreements, documents, and
         instruments executed in connection with this Plan.

                                       ARTICLE IX
                                 EFFECT OF CONFIRMATION

 9.01.   Discharge. On the Confirmation Date, subject to occurrence of the Effective Date, the
         Debtor will be discharged from all debts that arose before the Petition Date, to the extent
         specified in § 1141(d)(1)(A) of the Code, except that the Debtor will not be discharged of
         any debt: (i) imposed by this Plan; (ii) of a kind specified in § 1141(d)(6)(A) if a timely
         complaint was filed in accordance with Rule 4007(c) of the Federal Rules of Bankruptcy
         Procedure; or (iii) of a kind specified in § 1141(d)(6)(B). After the Effective Date of the
         Plan your pre-confirmation claims against the Debtor will be limited to the debts
         described in clauses (i) through (iii) of the preceding sentence.

 9.02.   Default. Unless otherwise provided by the Court, all obligations to make payments
         provided for under this Plan, and all instruments in evidence thereof, shall have a grace
         period of fifteen (15) days after written notice of failure to pay before such failure to pay
         shall constitute a default thereof. Unless otherwise expressly provided in the Plan, if there
         is a default in any payment required under this Plan to be made by the Reorganized
         Debtor, the holder of such claim may (1) give notice to the Reorganized Debtor of its
         election to accelerate the balance then remaining under this Plan, declaring the same to be
         immediately due and payable, (2) enforce all collateral rights, and (3) initiate a collection
         action in any court of competent jurisdiction, subject only to the right of the Reorganized
         Debtor to “de-accelerate” its obligations and reinstate the payment provisions set out
         herein by, within thirty (30) days of notice of acceleration, paying to the creditor all
         amounts then due under the payment schedule as if acceleration had not occurred.

 9.03.   Confirmation Injunction. Except for those creditors or claimants to whom the
         Reorganized Debtor is affirmatively required to make payments under this Plan,
         entry of the Confirmation Order will permanently enjoin all persons who have held,
         hold, or may hold Claims or Interests on and after the Effective Date (a) from
         commencing or continuing in any manner any action or other proceeding of any
         kind with respect to any such Claim or Interest against the Debtor or Reorganized
         Debtor; (b) from the enforcement, attachment, collection, or recovery by any
         manner or means of any judgment, award, decree, or order against the Debtor or
         Reorganized Debtor or the property of the Debtor, the Estate, or the Reorganized
         Debtor with respect to any such Claim; (c) from creating, perfecting, or enforcing
         any encumbrance of any kind against the Debtor or the Reorganized Debtor or
         against the property of the Debtor, the Estate, or the Reorganized Debtor with
         respect of any such Claim; (d) from asserting any setoff, right of subrogation, or
         recoupment of any kind against any obligation due from the Debtor or the
         Reorganized Debtor, or against the property of the Debtor, the Estate, or the
         Reorganized Debtor with respect to any such Claim. This Confirmation Injunction
         shall survive closure of this bankruptcy.

                                         ARTICLE X
                                      OTHER PROVISIONS
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 10.01 Property Vests in Reorganized Debtor on Effective Date. Upon the Effective Date, except
       as otherwise specifically set forth in this Plan, all property of the Estate of the Debtor and
       each and every claim or cause of action that was asserted or could have been asserted by
       the Debtor against any party, in the Bankruptcy Case or otherwise, including causes of
       action for recovery of preferences, fraudulent conveyances, and any other action
       maintainable under §§ 542 through 553 of the Bankruptcy Code, shall vest in the
       Reorganized Debtor, free and clear of all Claims and Interests except as specifically
       provided for in the Plan or the Confirmation Order. Upon the Effective Date the
       Reorganized Debtor shall be substituted as a party to all pending matters, adversary
       proceedings, claims, administrative proceedings, and lawsuits involving the Debtor,
       whether before the Bankruptcy Court or otherwise.

 10.02 Property Free and Clear of Liens. All Property of the Estate and Debtor, whether real
       property, personal property, exempt property, intangible property, or any other property
       interest of any nature whatsoever, shall be free and clear of all Claims and interests of
       creditors, Interest holders, and other parties in interest, except as specifically provided for
       in the Plan or the Confirmation Order.

 10.03 Full and Final Satisfaction. The final payments and distributions provided in respect of
       each Allowed Claim in the Plan shall be in full settlement of each such Allowed Claim to
       such Claimant.

 10.04 Post-Confirmation Professional Fees. The Reorganized Debtor shall be authorized to pay
       all legal and accounting services incurred post-confirmation without the fee-application
       requirements of 11 U.S.C. §§ 328-330.

 10.05 Litigation of Estate Claims. Pursuant to 11 U.S.C. § 1123(b)(3)(B), Debtor shall retain
       and enforce, litigate, and liquidate all claims, causes of action, and interests belonging to
       Debtor or the Estate. Debtor shall have the choice whether to initiate, pursue, or, to
       conclude such litigation in their sole discretion.

 10.06 Reservation of Rights. All claims or causes of action, cross-claims, and counterclaims of
       Debtor of any kind or nature whatsoever, against third parties arising before the
       Confirmation Date that have not been disposed of prior to the Confirmation Date shall be
       preserved for the benefit of Debtor and the Estate, and prosecuted by Debtor as it sees fit.

 10.6   Plan not an Admission of Liability. Until the Effective Date, (i) the compromises,
        settlements, releases, and abandonments set forth in the Plan shall be of no force or
        effect; (ii) nothing contained in the Plan shall be deemed to be an admission that any
        Claim that could be asserted by any person is valid in any respect; and (iii) nothing in the
        Plan or Disclosure Statement may be admitted into evidence or otherwise used in
        opposition to any action, suit, motion, or other proceeding brought on any such Claim. If
        the Effective Date does not occur, nothing contained in the Plan shall be deemed to alter,
        amend, release, waive, or modify any defense, claim, or offsets that Debtor may have to
        the Claims of any holder under this Plan.



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 10.07 Operating Reports. The Reorganized Debtor shall not be required to file monthly
       operating reports, but shall file quarterly operating reports with the United States
       Trustee’s Office, per the applicable reporting requirements.

 10.08 Final Decree. Once the provisions of Rule 3022 of the Federal Rules of Bankruptcy
       Procedure are met, Debtor, or such other party as the Court shall designate in the Plan
       Confirmation Order, shall file a motion with the Court to obtain a final decree to close the
       case and grant Debtor its discharge.




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